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 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
     JEREMY BUNKER, an individual,            )
11                                            )
                          Plaintiff,          )        Case No:      2:23-cv-01597-GMN-NJK
12                                            )
            vs.                               )
13                                            )        STIPULATION AND ORDER FOR
     CLARK COUNTY, a political subdivision of )        DISMISSAL WITH PREJUDICE
14   the State of Nevada,                     )
                                              )
15                        Defendant.          )

16         IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,
17   and their respective counsel of record, and upon the representation having been made that all
18   claims have been settled.
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20   ///
21   ///
22   ///
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24   ///
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26   ///
27   ///
28   ///


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